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                          EXHIBIT F
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                                              Log of Redacted Communications

NO. DATE                FROM            TO              SUBJECT LINE                                 BASIS FOR REDACTIONS
2   12/06/2019          Bucher, Lisa    Venezuela       Travel/ entry ban against 29 Venezuelans     Lack of relevance
    (email chain)       (DOS)           Working Group
3   05/22/2020          [REDACTED]      [REDACTED]      [REDACTED]                                   Lack of relevance
    (email chain, 1
    attachment)
4   05/08/2020          Leidenz, Jean   [REDACTED]      [REDACTED]                                   Lack of relevance
    (email chain)       (DOS)
5   01/07/2019          Dowers,         Caracas,        FW: Alex Saab                                Lack of relevance, Deliberative
    (email chain, 1     William (DOS)   Economic                                                     Process Privilege
    attachment)                         Pressure Team
                                        (DOS)
6     06/15/2020        [REDACTED]      [REDACTED]      [REDACTED]                                   Lack of relevance,
      (email chain,                                                                                  Deliberative Process Privilege,
      multiple                                                                                       Attorney-Client Privilege
      attachments)
7     06/04/2020        [REDACTED]      [REDACTED]      Evidentiary, thank you:                      Lack of relevance,
      (email chain, 1                                   1349704_Designation_Evidentiary.doc          Deliberative Process Privilege
      attachment)                                       (references Saab as involved in brokering
                                                        sale of PDVSA crude oil and being sent to
                                                        Iran by Maduro to negotiate purchase of
                                                        gasoline per sources and public reporting)
8     05/08/2020        Leidenz, Jean   [REDACTED]      [REDACTED]                                   Lack of relevance
      (email chain)     (DOS)
9     01/20/2021        [REDACTED       [REDACTED]      [REDACTED]                                   Lack of relevance
      (email chain,
      multiple
      attachments)
10    06/16/2020        Bhala, Richa    Story, James    Alex Saab – Dip Passport (Antigua &          Lack of relevance, Deliberative
      (email chain, 1   (DOS)           (DOS)           Barbuda)                                     Process Privilege
      attachment)

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11    07/02/2020        [REDACTED]      Carlston,         RE: NIV Application Requests (OFC-20-        Lack of relevance
      (email chain,                     Morgan            8022083)
      multiple
      attachments)
12    01/26/2021        Eversheds       State Bureau of   The Biden Administration should reinstate    Lack of relevance
      (presentation)    Sutherland (US) Energy and        without delay the humanitarian policy of
                        LLP             Resources         allowing oil-for-diesel swaps with
                                                          Venezuela
13    06/12/2020        Traeger, Ryan   Lawrence, Tim     Of note                                      Lack of relevance, Deliberative
      (email)                                                                                          Process Privilege
14    05/22/2020        [REDACTED]      [REDACTED]        [REDACTED]                                   Lack of relevance
      (email chain,
      multiple
      attachments)
15    09/07/2021        King, Katie     State             Re: Cabo Verde: Alex Saab extradition        Lack of relevance, Deliberative
      (email chain)     (DOS)           Department                                                     Process Privilege
                                        recipients
16    N/A               N/A             N/A               EVIDENTIARY MEMORANDUM                       Lack of relevance, Deliberative
      (memorandum)                                        (references Saab as involved in brokering    Process Privilege
                                                          sale of PDVSA crude oil and being sent to
                                                          Iran by Maduro to negotiate purchase of
                                                          gasoline per sources and public reporting)
17    07/11/2018        [REDACTED]      [REDACTED]        RE: Slides for IFWG (references Saab as      Lack of relevance, Deliberative
      (email chain,                                       having diplomatic passport from Antigua      Process Privilege
      multiple                                            and Barbuda as of 2014)
      attachments)
18    01/15/2021        SECSTATE        [REDACTED]        Notification of January 19 Venezuela         Lack of relevance
      (State cable)     WASHDC                            Sanctions Action




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